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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 In re:                                                                         Chapter 11

    CHU H. KWON, et al.,                                                        Case No. 19-44290 (ESS)
                                                                                Case No. 19-44263 (ESS)
                                                                                Case No. 19-44264 (ESS)
                                         Debtors.1                              Case No. 19-44265 (ESS)

                                                                                Jointly Administered

            DECLARATION OF CHARLES E. SIMPSON IN SUPPORT OF
        MOTION FOR LEAVE TO WITHDRAW AS COUNSEL TO THE DEBTORS


       CHARLES E. SIMPSON, pursuant to 28 U.S.C. § 1746, declares under penalty of
perjury:
         1.       I am a member of the Bar of the United States District Court for the Southern and

Eastern Districts of New York, the United States Court of Appeals for the Second Circuit, the

Appellate Division of the Supreme Court of the State of New York, First Department, and the firm

of Windels Marx Lane & Mittendorf, LLP, proposed attorneys for Chu H. Kwon (“Kwon”) and

the affiliated debtors and debtors-in-possession (collectively, the “Debtors”), in the above-

referenced Jointly Administered Chapter 11 cases.




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  The Debtors in these chapter 11 cases (collectively, the “Debtor”), along with the last four digits of each Debtor’s
federal taxpayer-identification number are: 4811 Associates LLC (9576), 5505 Associates LLC (9596), and 5507
Associates LLC (9544).


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         2.    I submit this declaration (the “Declaration”) in Support of the Motion (“Motion”)

of Windels Marx Lane & Mittendorf, LLP (“Windels Marx”) for an Order Pursuant to Local

Bankruptcy Rule 2090-1(d) for Leave to Withdraw as Counsel to the Debtors in the Chapter 11

Cases.

         3.    On July 11, 2018 (the “Petition Date”), each of the affiliated Debtors commenced

the above-captioned cases and on July 12, 2019, Chu H. Kwon, individually, commenced the

above-captioned case (the “Chapter 11 Cases”), by filing voluntary petitions for relief with this

Court under chapter 11 of title 11 of the United States Code.         The Chapter 11 Cases were

procedurally consolidated for administrative purposes.        Each of the Debtors continues in

possession of its property, and operates and manages its business, as debtor-in-possession pursuant

to sections 1107 and 1108 of the Bankruptcy Code.

         4.    On July 25, 2019, each of the affiliated Debtors filed an Application for an Order

Authorizing the Retention and Employment of Windels Marx Lane & Mittendorf, LLP, Nunc Pro

- Tunc to the Petition Date (the “Retention Applications”). The Retention Applications were

granted by this Court, with instructions to upload a Proposed Order Authorizing the Employment

and Retention of Windels Marx Lane & Mittndorf, LLP (the “Proposed Order”) in each of the

Chapter 11 Cases.    To date, although uploaded as directed by the Court, the Proposed Order has

not been entered by this Court.

         5.    As Counsel to the Debtors, Windels Marx to date continues to ensure that all

required documents have been filed in the Chapter 11 Cases and that the Debtors have timely

complied with requests (the “requests”) from the Office of the United States Trustee, except for

the ongoing requests by Windels Marx for the Debtors to: (i) become current on Monthly

Operating Reports and Quarterly U.S. Trustee Fees, (ii) file a retention application for accountant,



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and (iii) Amend the Debtors’ Statement of Financial Affairs, none of which have been completed

by the Debtors. However, the Debtors have been advised of the urgency of these matters. Windels

Marx has made multiple phone calls and sent multiple emails to Mr. Kwon, on behalf of the

Debtors, detailing these requests. Windels Marx has spent an extraordinary amount of time, effort

and resources to ensure that the Debtors comply with these requests. However, the Debtors are not

responsive and continue to ignore counsel’s requests.

         6.    The Debtors continue to ignore timelines imposed by the Court and communicate

with Windels Marx as to the reason for those delays.

         7.    As a result, Windels Marx requests that it be granted leave to withdraw as counsel

and give the Debtors a reasonable opportunity to retain new counsel.

                    The Chapter 11 Plan Process – Still Awaiting Closure

         8.    On December 16, 2019, Mr. Kwon met with a potential investor, Ramin Adhoot, at

the offices of Windels Marx to discuss the potential investment of $5,500,000.00 in the Debtors’

business. The objective was to use the investment to pay off a significant portion of the

approximately $5,900,000.00 mortgage encumbering each of the three (3) properties owned and

operated by the affiliated Debtors (collectively, the “properties”). The remaining balance would

be paid over a period of time under a Chapter 11 Plan of Reorganization. In exchange, the Debtors

would transfer ownership of the properties to an investor-owned entity. The Debtors would retain

an option to buy back a fifty (50%) percent interest in the properties at a cost of $2,250,000.00, or

half the investment, within six (6) months of the transfer.

         9.    However, the proposed plan did not materialize within the Debtors’ exclusivity

period under 11 U.S.C. § 1121 to file and solicit acceptance of a plan of reorganization. Multiple

efforts were made prior to and after the expiration of the exclusivity period to prepare and file a



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proposed Chapter 11 Plan of Reorganization. However, the Debtors have not been able to confirm

the terms of a proposed Chapter 11.

         10.   On January 17, 2020,       this Court conditionally approved (i) the Disclosure

Statement for 5th Avenue Mixed Use LLC’s Chapter 11 Plan for Debtors: 5507 Associates, LLC,

4811 Associates, LLC, and 5505 Associates, LLC (“5th Avenue’s Statement”), as containing

adequate information, and authorizing that it be distributed to parties in interest by January 24,

2020.

         11.   On February 28, 2020, the Debtors filed Limited Objections to Confirmation of the

Plan of Reorganization filed by 5th Avenue. The Debtors requested that the Court adjourn

approval of the Disclosure Statement and confirmation of the Plan for three (3) months pending

the Court’s approval of a loan to the Debtors in the total amount of $5,500,000.00 (the “Loan”).

The parties agreed in principal to enter into a Joint Venture Agreement (“JV Agreement”).

However, the parties have not been able to memorialize the deal.

         12.   On March 6, 2020, a Status Conference and Confirmation Hearing (the “Hearing”)

was held in the Chapter 11 cases. After oral arguments and a settlement discussion between the

parties, the hearing was adjourned to March 25, 2020. The hearing was subsequently adjourned

to May 6, 2020 due to the COVID-19 pandemic.

         13.    At the Hearing, the Debtors were directed by the Court to: (i) become current on

Monthly Operating Reports and Quarterly U.S. Trustee Fees by March 13, 2020, (ii) file a retention

application for accountant by March 13, 2020, (iii) file the letter of commitment and proof of funds

substantiating the third-party loan to the Debtors by March 16, 2020, and (iv) file a plan and

disclosure statement by March 26, 2020. Despite multiple requests by counsel to obtain this




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information, the Debtors have not been able to provide this information. Counsel made a

subsequent request for an extension of time to comply with the Court’s directives to no avail.

         14.   A Status Conference and Confirmation Hearing is currently scheduled for May 6,

2020. As of the date of this motion, the Debtors have not filed a competing Chapter 11 Plan of

Reorganization.

         15.   Communications between counsel and the Debtor have broken down to the point

where Windels Marx is being forced to file the Withdrawal Motion.

         16.   I declare under penalty of perjury that the foregoing is true and correct.

Executed on May 5, 2020




                                                             /s/ Charles E. Simpson
                                                             CHARLES E. SIMPSON




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